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                                                                               COURT
                                                                             6 Y v.

               UNITED STATES DISTRICT COURT
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               SOUTHERN DISTRICT OF GEORGIA
                                           CLEF;,,
                    SAVANNAH DIVISION            - ts'`''TAPE GA .

UNITED STATES OF AMERICA,          )




v.    )     Case                       No . CR406-095

KEVIN LAVOY ROBINSON and           )
DEMOND R . MILLS,

     Defendants .


                    REPORT AND RECOMMENDATIO N

     Defendants have filed motions to suppress all evidence seized

following the stop of the vehicle in which they were traveling on February

8, 2006 . Docs . 30, 38, 40 . The Court held an evidentiary hearing on this

matter on November 7, 2006, at which time the government offered

testimony from Deputy Sheriff Mark Crowe and Corporal John Meacham

of the Bryan County Sheriffs Department . Defendant Robinson testified

on his own behalf, relating a somewhat different version of the events

which occurred immediately after the traffic stop . For the following

reasons, the motions to suppress should be DENIED .
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I . BACKGROUN D

      Deputy Crowe was working traffic enforcement on the northbound

lanes of Interstate 95 in Bryan County, Georgia on February 8, 2006,

around 11 :54 p.m ., when he observed a silver passenger car occupied by two

males traveling in the center lane . The vehicle intrigued Deputy Crowe and

he pulled away from his stationary position at mile post 81 to follow the

vehicle . He then observed the vehicle cross from the center lane into the

right lane and then return to the center lane when other cars were within

two to three car lengths of the vehicle . At that time, Deputy Crowe

initiated a traffic stop on the vehicle near mile post 83 for weaving over the

roadway .

      Deputy Crowe approached the vehicle and asked the driver, defendant

Robinson, to step to the rear of his car and produce his license . Robinson

complied and provided his license as requested . Deputy Crowe then

inquired into the vehicle's ownership and defendants' travel plans .

Robinson explained that the vehicle belonged to his girlfriend' and that she

had loaned the vehicle to him so that he could drive the passenger, who m


      'At the evidentiary hearing Robinson testified that he had borrowed the vehicle
from a stripper in Daytona Beach, Florida named "Fluff . "
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he referred to solely as "Mouse," from Daytona Beach to Delaware . Deputy

Crowe requested the insurance and registration papers for the vehicle, and

Robinson informed him that Mouse could produce them . Deputy Crowe

retrieved the documents from Mouse (defendant Mills) and determined that

the car was registered to an individual named John Greggo . Neither

defendant expressed any familiarity with Mr . Greggo .

     Deputy Crowe requested a license check and criminal history report

on defendant Robinson . Although his license was valid, the criminal history

report revealed that Robinson had a prior felony conviction for possession

of cocaine . Deputy Crowe began to issue defendant Robinson a warning

citation for weaving over the roadway . While issuing the warning, Deputy

Crowe informed defendant Robinson that motorists sometimes trafficked

in drugs, weapons, and large sums of money along Interstate 95 and

requested consent to search the vehicle . Defendant Robinson declined to

give his consent.

     As Deputy Crowe continued to write the warning, he asked a fellow

officer, who had arrived as back-up, to call for a "canine unit" to come to

the scene . Approximately seven or eight minutes had elapsed between th e


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initiation of the stop and the call for the drug dog . Corporal Meacham, who

was stationed on 1-95 at mile post 82 with the dog,2 responded to the call

and arrived at the scene of the stop within a minute . While Deputy Crowe

was completing the courtesy citation, Corporal Meacham led his dog around

the vehicle . When the dog alerted on the rear passenger side door,

Meacham entered the vehicle and discovered a package containing cocaine .




II . ANALYSI S

      "As a general matter, the decision to stop an automobile is reasonable

where the police have probable cause to believe that a traffic violation has

occurred ." Whren v. United States, 517 U.S . 806, 809 (1996) . The existence

of probable cause depends purely on the objective facts available to the

officer . "Subjective intentions play no role in ordinary, probable-cause

Fourth Amendment analysis ." Id. at 813 . For this reason, the Supreme

Court has rejected the notion that a traffic stop based on probable cause i s

constitutionally permissible only if a reasonable officer would have mad e


       'Corporal Meacham testified that this type of "criminal interdiction" is a
commonly used law enforcement technique on account of the large problem with drug
trafficking along the 1-95 corridor and that he was stationed on that route at that time
in order to render any necessary assistance to the officers .

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the stop solely for the purpose of enforcing the traffic laws . Id. at 813-15 ;

see Riley v. City of Montgomery, 104 F .3d 1247, 1252 (11th Cir . 1997)

(holding that the constitutional reasonableness of a traffic stop is

determined irrespective of the intent of the individual officer or a

theoretical "reasonable officer") . Therefore, "a police officer may stop a

vehicle '[w] hen there is . . . probable cause to believe the driver is violating

any one of a multitude of applicable traffic and equipment regulations'

relating to the operation of motor vehicles ." United States v . Strickland,

902 F .2d 937, 940 (11th Cir . 1990) (quoting Delaware v. Prouse , 440 U .S .

668 (1979)) .

      Deputy Crowe offered undisputed testimony that defendants' vehicle

weaved from the center lane of traffic into the right-hand lane and then

back into the center lane on 1-95 and that other cars were travelling near

defendants' vehicle at the time . The Georgia motor vehicle code provides

that "[a] vehicle shall be driven as nearly as practicable entirely within a

single lane and shall not be moved from such lane until the driver has first

ascertained that such movement can be made with safety ." O.C .G .A. § 40-

6-48(1) . "Weaving without reason into nearby lanes violates O .C.G.A. § 40-


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6-48(1) ." Viau v . State, 579 S .E .2d 52, 55 (Ga. App. 2003) . When Deputy

Crowe observed defendants' vehicle weaving in a manner prohibited by

Georgia law, he was justified in initiating the traffic stop . During the

course of the stop, as he was writing defendant Robinson a courtesy

citation, Deputy Crowe requested that a drug dog be brought to the scene .

The dog arrived within a minute of his request and alerted on defendants'

vehicle shortly thereafter .

      While a dog sniff performed during a routine traffic stop does not

violate the Fourth Amendment, "a seizure that is justified solely by the

interest in issuing a warning ticket to the driver can become unlawful if it

is prolonged beyond the time reasonably required to complete that

mission ." Illinois v. Caballes , 543 U .S . 405, 407-408 (2005) (holding that a

dog sniff of a vehicle does not infringe a person's constitutionally protected

interest in privacy and therefore does not change the character of a traffic

stop that is "lawful at its inception and otherwise executed in a reasonable

manner") . Defendants contend that the Court should suppress the evidence

seized during this traffic stop because it was unreasonably extended beyond

the initial reason for the stop . In this regard, defendant Robinson testifie d



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that Deputy Crowe issued him a courtesy warning before the dog arrived

and confiscated the citation once defendant refused to consent to a search

of his car . If these were the facts-i .e ., if the warning ticket had issued and

the traffic stop had thus been completed before the dog's alert-then

suppression would be required, for officers may not prolong a traffic stop for

the sole purpose of securing the presence of a drug dog. United States v.

Boyce, 351 F3d 1102, 1110 (11th Cir . 2003) ; see United States v. Purcell ,

236 F .3d 1274, 1277 (11th Cir . 2001) . But after considering the testimony

and assessing the credibility of the witnesses, the Court simply does not

believe defendants' version of the facts . Instead, the Court accepts Deputy

Crowe's testimony that he had yet to issue the warning ticket when the dog

arrived and alerted on defendant's vehicle . Therefore, probable cause3 to

search defendant's vehicle arose before the traffic stop had concluded .

      The Eleventh Circuit, addressing the length of a constitutional stop,

has stated that "[w]here at its inception, a traffic stop is a valid one for a

violation of the law, we doubt that a resultant seizure of no more tha n




      'When the drug dog alerted to the presence of drugs in the vehicle, the officers had
probable cause to search the vehicle . See United States v . Glinton, 154 F .3d 1245, 1257
(11th Cir . 1998) .

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seventeen minutes can ever be unconstitutional on account of its duration :

the duration is too short ." United States v . Hernandez , 418 F .3d 1206,

1212 n.7 (11th Cir . 2005) . In this case, approximately ten minutes elapsed

between the traffic stop and the dog's alert on defendants' vehicle, well

within the presumptively legitimate time-frame established by Hernandez .

During that ten-minute period, Deputy Crowe was engaged in the normal

procedures associated with a traffic stop, which involved obtaining

Robinson's drivers license, retrieving the insurance and registration papers

from the passenger, requesting a license and criminal history check on the

driver, and asking pertinent questions about who owned the vehicle and

how defendants came into its possession . Given the time it would take to

complete these routine and appropriate steps, it is not surprising that

Deputy Crowe was still in the process of issuing the warning citation when,

some ten minutes into the stop, the officers developed probable cause to

enter the vehicle .




III. CONCLUSIO N

      Deputy Crowe lawfully initiated a traffic stop on defendants' vehicl e



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after observing the vehicle weaving across the roadway in violation of the

Georgia motor vehicle code . During the course of the traffic stop, as

defendant Robinson was being issued a courtesy warning for this violation,

a drug dog alerted on the vehicle . The traffic stop was in progress for only

nine or ten minutes before the dog's alert furnished probable cause to

search the vehicle . Accordingly, no unreasonable extension of the stop

occurred in this case, and defendants' motions to suppress should be

DENIED .

     SO REPORTED AND RECOMMENDED this                         /37W day of

November, 2006.


                                          UNITED STATES MAGISTRATE JUDGE
                                          SOUTHERN DISTRICT OF GEORGI A




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